Case 2:21-cv-00759-HG-LGD Document 66-13 Filed 08/28/23 Page 1 of 5 PagelD #: 1475

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Federal Credit Union

27883-0,60-49936N21.n05 1-2

NODDY SINGH

ARJUN SINGH

5 MINEOLA AVE
HICKSVILLE NY 11801

Glen Burnie, MD 21060-2069

STATEMENT OF ACCOUNT

| Account Number | Statement Date |
a 05-31-2022

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Statement Summary Page 1 of 2
AccountNumber Account Type Balance
Bonus Checking 3,747.90
Savings Account Summary — 9991196198
Starting Dividends Service Ending
Balance Deposits Paid Withdrawals Charges Balance
0.00 0.00 0.00 o 0.00 o 0.00 Bo 0.00
Transactions for Savings — 9991196198
Date Description Debits Credits Balance
05/01 Starting Balance 0.00
There are no transactions for this period.
Bonus Checking Account Summary — 9991196206
Starting Dividends Service Ending
Balance Deposits Paid Withdrawals Charges Balance
3,007.32 3,945.62 0.00 B 3,185.04 20.00 a 3,747.90
Transactions for Bonus Checking — 9991196206
Date Description Debits Credits Balance
05/01 Starting Balance 3,007.32
05/02 External Withdrawal JPMORGAN CHASE -2,662.00 345.32
JPMORGAN CHASE ACH - CHASE ACH
05/10 Check 208 -280.00 65.32
05/15 Point Of Sale Withdrawal CRYPTO.COM -106.81 -41.49
1111 Brickell Ave Miami FLUS
05/15 Point Of Sale Withdrawal CRYPTO.COM -125.38 -166.87
251 Little Falls Drive 888-8248817
DEUS
05/15 POS Courtesy Pay Usage Fee -10.00 -176.87
05/15 POS Courtesy Pay Usage Fee -10.00 -186.87
05/16 Point Of Sale Withdrawal POPEYES -10.85 -197.72

11392 23 OLD COUNTRY RD 7187360999
NYUS

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Continued on next page
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Federal Credit Union

Bonus Checking Summary —EEEE C ONTTINUED

Transactions for Bonus Checking — i

Date Description

05/23 Deposit Shared Branch Mobile Deposit
Bethpage NY
Deposit Shared Branch Mobile Deposit
Bethpage NY
Deposit Shared Branch Mobile Deposit
Bethpage NY

Interest Paid YTD: 1.01

Debits

05/30

05/30

Summary of Overdraft and Returned Item Fees

Total for
This Period

20.00
0.00

Total Over draft Fees
Total Returned Item Fees
Drafts for Bonus Checking — 9991196206

Date Draft Number
05/10 208

Amount Date

280.00

PNTAO00086

Page 2 of 5 PagelD #: 1476

Page
Statement Date:

Credits
245.62

2,900.00

800.00

Total
Year-to-Date

20.00
0.00

Draft Number

2 of 2
05-31-2022

Balance
47.90

2,947.90

3,747.90

Amount

27883-0.60-49936N21.n05 2-2
Case 2:21-cv-00759-HG-LGD Document 66-13 Filed 08/28/23 Page 3 of 5 PagelD #: 1477

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Electronic Endorsements:

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>074909962< 5/9/2022 4780711135
>061000146< 5/10/2022 16723653

PNTA000087
Case 2:21-cv-00759-HG-LGD Document 66-13 Filed 08/28/23 Page 4 of 5 PagelD #: 1478

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Page | of |

Record of Deposit

BACK IMAGE

$/23/2022 ItmNbr 6910020696 Dep Amt $245.62-

Back of 5/23/2022 ItmNbr 6910020696 Dep Amt $245.62-

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$/23/2022 ItmNbr 6910020698 Chk #7956960 Amt $245.62

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Back of 5/23/2022 ItmNbr 6910020698 Chk #7956960 Amt $245.62

Case 2:21-cv-00759-HG-LGD Document 66-13 Filed 08/28/23 Page 5 of 5 PagelD #: 1479

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Page | of |

Record of Deposit BACK IMAGE
§/31/2022 ItmNbr 6910021596 Dep Amt $2,900.00- Back of 5/31/2022 ItmNbr 6910021596 Dep Amt $2,900.00-
Berhpage Fo
PAN KING INC 1002 iBectpage, 7) .
he 4945 5 BROADWAY STEO 409 © Opstor Bay Bd
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BANK OF AMERICA

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Back of 5/31/2022 ItmNbr 6910021598 Chk #1002 Amt $2,900.00

5/31/2022 ItmNbr 6910021598 Chk #1002 Amt $2,900.00

PNTAO00089
